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UNITED STATES DISTRICT COURT } Biot /- | /-2(
SOUTHERN DISTRICT OF NEW YORK ~ [enews tg.
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UNITED STATES OF AMERICA,
; : CONSENT PRELIMINARY ORDER
-V.- OF FORFEITURE/
: MONEY JUDGMENT
KEVIN HERBIN,
S119 Cr. 700 (VB)
Defendant.
a x

WHEREAS, on or about September 16, 2020, KEVIN HERBIN (the “Defendant’”)
was charged in a one-count Superseding Information $1 19 Cr. 700 (VB) (the “Information”) with
narcotics conspiracy, in violation of Title 21, United States Code, Section 841(b)(1)(C) and 846
(Count One);

WHEREAS, the Information included a forfeiture allegation as to Count One,
secking forfeiture to the United States, pursuant to Title 21, United States Code, Section 853, of
any and all property constituting, or derived from, any proceeds obtained, directly or indirectly, as
a result of the offense charged in Count One of the Information, and any and all property used or
intended to be used, in any manner or part, to commit, or to facilitate the commission of the offense
charged in Count One of the Information, including but not limited to a sum of money in United
States currency representing the amount of proceeds traceable to the commission of the offense
charged in Count One of the Information;

WHEREAS, the Defendant consents to the entry of a money judgment in the
amount of $2,800 in United States currency representing the amount of proceeds traceable to ihe

offense charged in Count One of the Information; and
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WHEREAS, the Defendant admits that, as a result of acts and/or omissions of the
Defendant, the proceeds traceable to the offense charged in Count One of the Information cannot
be located upon the exercise of due diligence.

IT IS HEREBY STIPULATED AND AGREED, by and between the United States
of America, by its attorney Audrey Strauss, Acting United States Attorney, Assistant United States
Attorney, Jim Ligtenberg, of counsel, and the Defendant, and his counsel, James M. Branden, Esq.,
that:

i. As aresult of the offense charged in Count One of the Information, to which
the Defendant pled guilty, a money judgment in the amount of $2,800 in United States currency
(the “Money Judgment”) representing the amount of proceeds traceable to the offense charged in
Count One of the Information, shall be entered against the Defendant.
| 2. Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this
Consent Preliminary Order of Forfeiture/Money Judgment is final as to the Defendant, KEVIN
HERBIN, and shall be deemed part of the sentence of the Defendant, and shall be included in the
judgment of conviction therewith.

3. All payments on the outstanding money judgment shall be made by postal
money order, bank or certified check, made payable, in this instance, to the United States Marshals
Service, and delivered by mail to the United States Attorney’s Office, Southern District of New
York, Attn: Money Laundering and Transnational Criminal Enterprises Unit, One St. Andrew’s
Plaza, New York, New York 10007 and shall indicate the Defendant’s name and case number.

4, The United States Marshals Service is authorized to deposit the payments
on the Money Judgment in the Assets Forfeiture Fund, and the United States shall have clear title

to such forfeited property.

 

 
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5. Pursuant to Title 21, United States Code, Section 853(p), the United States

is authorized to seek forfeiture of substitute assets of the Defendant up to the uncollected amount

of the Money Judgment.

| 6. Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, the
United States Attorney’s Office is authorized to conduct any discovery needed to identify, locate
or dispose of forfeitable property, including depositions, interrogatories, requests for production
of documents and the issuance of subpoenas.

7, The Court shall retain jurisdiction to enforce this Consent Preliminary Order
of Forfeiture/Money Judgment, and to amend it as necessary, pursuant to Rule 32.2 of the Federal
Rules of Criminal Procedure.

8. The Clerk of the Court shall forward three certified copies of this Consent
Preliminary Order of Forfeiture/Money Judgment to Assistant United States Attorney Alexander
J. Wilson, Co-Chief of the Money Laundering and Transnational Criminal Enterprises Unit, United

States Attorney’s Office, One St. Andrew’s Plaza, New York, New York 10007.
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9. The signature page of this Consent Preliminary Order of Forfeiture/Money
Judgment may be executed in one or more counterparts, each of which will be deemed an original
but all of which together will constitute one and the same instrument.
AGREED AND CONSENTED TO:
AUDREY STRAUSS

Acting United States Attorney for the
Southern District of New York

 

By:  __/s/ | January 8, 2021
Jim Ligtenberg DATE

__- Assistant United States Attorney
300 Quarropas Street
White Plains, NY 10601
(914) 993-1953

By: /s Cv tan Hepa / Jf [2 8 [4

KEVIN HERBIN DATE

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JAMES M. BRANDEN, ESQ.
Attorney for Defendant

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DATE

HONORABLE VINCENT L. BRICCETTI
UNITED STATES DISTRICT JUDGE

 

 
